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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             )
                                      )
                   Plaintiff,         )
                                      )
             v.                       )      Civil Case No. 1:04-00798 (PLF/GMH)
                                      )
ALL ASSETS HELD AT BANK JULIUS )
Baer & Company, Ltd., Guernsey        )
Branch, account number 121128, in the )
name of Pavlo Lazarenko, et al.,      )
                                      )
                   Defendants In Rem, )
                                      )


          EX PARTE PLAINTIFF’S LETTER DATED SEPTEMBER 20, 2019

                       FILED WITH THE CISO.
                                      Respectfully submitted,


                                      DEBORAH CONNOR
                                      CHIEF
                                      MONEY LAUNDERING
                                       AND ASSET RECOVERY SECTION


                                      /s/ Teresa C. Turner-Jones
                                      DANIEL H. CLAMAN
                                      TERESA TURNER JONES
                                      ADAM J. SCHWARTZ
                                      Money Laundering and
                                         Asset Recovery Section
                                      Criminal Division
                                      United States Department of Justice
                                      1400 New York Avenue, N.W., 10th Floor
                                      Washington, DC 20530
                                      Telephone: (202) 514-1263

                                      Attorneys for Plaintiff
                                      UNITED STATES OF AMERICA
